     Case 2:24-cv-00985-APG-MDC      Document 78   Filed 06/02/25   Page 1 of 6




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 9

10                            UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEVADA
11

12 COREY GERWASKI,                           )
                                             )
13                        Plaintiff,         ) CASE NO. 2:24-cv-00985
                                             )
14   vs.                                     )
15                                           )
     STATE OF NEVADA, ex rel. BOARD          )
16   OF REGENTS of the NEVADA SYSTEM )
     OF HIGHER EDUCATION, on behalf          ) OPPOSITION TO STUDENTS FOR JUSTICE
17   of the UNIVERSITY OF NEVADA             ) IN PALESTINE-UNLV’S MOTION FOR
     LAS VEGAS; KEITH WHITFIELD              ) ATTORNEY’S FEES AND COSTS AND
18   individually; AJP EDUCATIONAL           ) STATUTORY AWARD PURSUANT TO
19   FOUNDATION INC., a California           ) NRS 41.670 (ECF 76)
     Non-Profit Corporation; STUDENTS FOR )
20   JUSTICE IN PALESTINE-UNLV;              )
     NATIONAL STUDENTS FOR JUSTICE ) [ORAL ARGUMENT REQUESTED]
21   OF PALESTINE; NEVADANS FOR              )
     PALESTINIAN LIBERATION;                 )
22   DOES I-XX and ROE entities I-XX,        )
23   DEFENDANT(S), an Individual/LLC/Corp; )
     DOE Nevada corporation; DOE Individuals )
24   I–XX; ROE Entities, I–XX,               )
                                             )
25                        Defendants.        )
                                             )
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     Case 2:24-cv-00985-APG-MDC            Document 78        Filed 06/02/25        Page 2 of 6




 1          COMES NOW, Plaintiff, COREY GERWASKI (“Mr. Gerwaski”), by and through his

 2 attorneys of record, DAVID Z. CHESNOFF, ESQ., RICHARD. A. SCHONFELD, ESQ., and

 3
     ROBERT Z. DEMARCO, ESQ., of CHENSNOFF & SCHONFELD, and files this Opposition to
 4
     Students for Justice in Palestine-UNLV’s Motion for Attorney’s Fees and Costs and Statutory
 5
     Award Pursuant to NRS 41.67 (ECF 76).
 6
            This Opposition is made and based upon the papers and pleadings on file herein, the
 7

 8 attached Memorandum of Points and Authorities, and any oral argument that may be heard.

 9          DATED this 2nd day of June 2025.
10                                                        Respectfully Submitted:
11
                                                          CHESNOFF & SCHONFELD
12
                                                     By: Robert Z. DeMarco
13                                                     DAVID Z. CHESNOFF, ESQ.
                                                       Nevada Bar No. 2292
14                                                     RICHARD A. SCHONFELD, ESQ.
15                                                     Nevada Bar No. 6815
                                                       ROBERT Z. DEMARCO, ESQ.
16                                                     Nevada Bar No. 12359
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                                                       Fax: (702) 598-1425
19                                                     Attorneys for Plaintiff

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     Case 2:24-cv-00985-APG-MDC              Document 78        Filed 06/02/25      Page 3 of 6




 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2 I.        DEFENDANT SJP-UNLV’S MOTION FOR ATTORNEY’S FEES AND COSTS AND
             STATUTORY AWARD SHOULD BE DENIED.
 3
             SJP-UNLV’s request for attorney’s fees and costs should be denied in its entirety. While this
 4
     Honorable Court granted the anti-SLAPP Motion to the extent it dismissed Plaintiff’s claim for
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     intentional infliction of emotional distress (IIED), Plaintiff has objected and reserves all rights to
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     address further, including on appeal if necessary. This Honorable Court granted Plaintiff leave to
 7
     amend his Complaint, and Plaintiff has substituted in new counsel in light of prior counsel’s recent
 8
     appointment. Furthermore, while Defendant argues the IIED claim was frivolous, Plaintiff set forth
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     the claim in detail in his First Amended Complaint and the Order should have been without
10
     prejudice. It was alleged that SJP-UNLV, through its conduct and organization, supports Hamas, a
11
     designated Foreign Terrorist Organization (“FTO”) in the United States.1 SJP-UNLV assisted and
12
     served Hamas in soliciting, inciting, and encouraging students and faculty at UNLV to engage in
13
     harassment of Jewish students, such as Plaintiff at the university.
14
             Notwithstanding the coordination with Defendants NSJP, AMP, and other organizations to
15
     obstruct, harass and intimidate Jewish students such as Mr. Gerwaksi, and specifically Mr.
16
     Gerwaksi, SJP-UNLV knowingly used or permitted the use of funds raised by a solicitation of
17
     contributions and manpower to provide support to terrorists, terrorist organizations and terrorist
18
     activities.2
19
             Significantly, SJP-UNLV conceded that a “motion to dismiss pursuant to NRS 41.660 is
20
     typically restricted to Nevada state law claims, and Plaintiff’s IIED claim is the only claim asserted
21

22

23   1
       See generally 8 U.S.C. § 1189; Compare with U.S. Department of State Bureau of
24   Counterterrorism        Designated       Foreign      Terrorist     Organizations      available      at
     https://www.state.gov/foreign-terrorist-organizations/.
     2
25     See also Holder v. Humanitarian Law Project, 130 S. Ct. 2705, 2710–2711 (“[D]esignated
     foreign terrorist organizations do not maintain organizational firewalls between social, political, and
26   terrorist operations, or financial firewalls between funds raised for humanitarian activities and those
     used to carry out terrorist attacks.”). Section 2339(b) prohibits providing a service to a foreign
27   terrorist organization. The use of the word “to” indicates a connection between the service and the
     foreign group. See Merriam-Webster's Dictionary (2025) (defining “service” to mean: “a helpful
28   act”; or “useful labor that does not produce a tangible commodity”; or “an administrative division”
     A person of ordinary intelligence would understand that independently advocating for a cause is
     different from providing a service to a group that is advocating for that cause.
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     Case 2:24-cv-00985-APG-MDC             Document 78        Filed 06/02/25      Page 4 of 6




 1 against SJP UNLV pursuant to state law.” See ECF 61 at p. 15, n. 14. As such, said Defendant’s

 2 attempt to portray the Motion as one that sweepingly dismissed the entire case is misplaced.

 3          It is also respectfully submitted that the Court erred in granting the underlying Motion, as

 4 there were factual disputes and discovery has not even commenced. As such, it is respectfully

 5 submitted that the IIED claim should not have been subject to dismissal under Nevada’s anti-

 6 SLAPP statute at this pleadings stage. See Nev. Rev. Stat. § 41.660(3)(a)–(b). See, e.g., Nano

 7 Found., Ltd. v. Silver, No. 2:19-cv-04237-SVW-PJW, 2019 WL 6723428, at *2 (C.D. Cal. Aug. 20,

 8 2019) (citing Planned Parenthood, and explaining that a defendant claiming its statements were

 9 truthful, and thus within the protection of California's anti-SLAPP statute, created a factual issue

10 requiring consideration under Federal Rule of Civil Procedure 56).

11          Here, it is respectfully submitted that the underlying Motion is at best premature (as stated

12 above Plaintiff has been granted leave to amend his Complaint) and the issue of attorney’s fees and

13 costs should be deferred. The requested fees and costs (and time expended) are also unreasonable.

14 Moreover, the statutory request should be denied and is not warranted. Plaintiff is a UNLV student

15 and has set forth detailed facts in his Complaint. This Honorable Court is permitting Plaintiff’s

16 claims to move forward, in part, against the parties (the Court has granted leave to amend) and

17 Plaintiff’s claims are brought in good faith.

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     Case 2:24-cv-00985-APG-MDC           Document 78        Filed 06/02/25        Page 5 of 6




 1 II.     CONCLUSION

 2         Mr. Gerwaski respectfully requests that this Honorable Court deny SJP-UNLV’s Motion for

 3 Attorney’s Fees and Costs and Statutory Award pursuant to NRS 41.670 in its entirety.

 4 DATED this 2nd day of June 2025.

 5                                                       Respectfully Submitted:
 6
                                                         CHESNOFF & SCHONFELD
 7
                                                   By: Robert Z. DeMarco
 8                                                   DAVID Z. CHESNOFF, ESQ.
                                                     Nevada Bar No. 2292
 9                                                   RICHARD A. SCHONFELD, ESQ.
                                                     Nevada Bar No. 6815
10
                                                     ROBERT Z. DEMARCO, ESQ.
11                                                   Nevada Bar No. 12359
                                                     Counsel for Plaintiff, COREY GERWASKI
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     Case 2:24-cv-00985-APG-MDC             Document 78       Filed 06/02/25      Page 6 of 6




 1                                    CERTIFICATE OF SERVICE

 2          Pursuant to Fed. R. Civ. P. 5(b), I hereby certify that a copy of the foregoing document

 3 was electronically filed with the Clerk of the Court to be served by the Court’s electronic filing

 4 system on all counsel of record.

 5          DATED this 2nd day of June, 2025.

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 7                                                               /s/ Robert Z. DeMarco
                                                                 Employee of Chesnoff & Schonfeld
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